       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Daquan Lamar Scott
       v. Commonwealth of Virginia
       Record No. 1900-16-1
       Opinion rendered by Judge Humphreys on
        January 30, 2018

    2. John Allen Baugh, Jr.
        v. Commonwealth of Virginia
        Record No. 0152-17-2
        Opinion rendered by Judge Malveaux on
        January 30, 2018

    3. Denise Hawkins
       v. Darla Grese
       Record No. 0841-17-1
       Opinion rendered by Judge Humphreys on
        February 13, 2018
   The following cases in which the Court of Appeals issued published opinions have been disposed of by
the Supreme Court:

           1. Latron Dupree Brown
              v. Commonwealth of Virginia
              Record No. 1998-15-2
              Opinion rendered by Judge Humphreys
               on August 1, 2017
              Refused (171172)
